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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OT PENNSYLVANTA




                                                          Master Docket
 IN RE DIISOCYANATES AI\TITRUST                           Misc. No. 18-1001
 LITIGATION
                                                          MDL No. 2862
 This document relates to: All Actians

 Hon. James C. Francis tV (Ret.)
 E-Discovery Special Master

                          Supplemental Report and Recommcndation

        In a Report and Recommendation dated october 19,2022 (the ,.10/1g/22 R&R'),
                                                                                               I
recommended that Plaintiffs' Motion to Compel Search Terms and Further
                                                                                TAR Review (ECF
705) be granted to the extent that defendants Wanhua Chemical (America)
                                                                               Co., Ltd, Huntsman

Corporation ("Huntsman'), and Covestro LLC be required to resume their TAR review,

presumptively continuing until the last two batches reviewed contain no more
                                                                                  thar fi%
responsive documents, with the parties permitted to argue that the rsview should
                                                                                    be stopped

sooner than that or continued longer on the basis of the significance of the
                                                                               documents obtained

from those batches. That recommendation was based on my understanding that the proportion
                                                                                                        of
responsive documents in the final two batches at the time each of these defendants
                                                                                      halted their

reviews was materially greater than l0%. (r}figrz2R&R at 6 (Figure l),26-27).

       That understanding was incorrect. Although the proportion of responsive documents
                                                                                                   in
the last two batches for Huntsman was originally presented to me as 18% (Declaration
                                                                                          of Sarah
R. LaFreniere dated Aug. 9, 2A22,n2T,it has been brought to my attention that the proportion

was in fact9.lYo (Declarationof Za*hary K. Warren dated Aug. 30, ZA2Z,111Tg, g),
                                                                                      a figure that

the plaintiffs do not dispute (Plaintiffs' Reply Memoraudum of Law in Further Support
                                                                                          of
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Plaiffiffs' Motionto Compel Semch Terms andFurths TARReview, Exh. B). SinceHuntsman

has already achieved the benchmark that I identified as representing a presumptively reasonable

search, there is no longer a basis for rquiring it to resume its TAR review" I therefore modify

my recommendation zuch that Huntsman should not be subject to tlis requirement.




                                             Respectfu lly Submitted,




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                                                          Special Master

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